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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

GLORIA SALAS,                                      §
                                                   §
               Plaintiff,                          §
                                                   §
v.                                                 §                   1:18-CV-748-RP
                                                   §
FORD MOTOR CREDIT COMPANY, LLC,                    §
                                                   §
               Defendant.                          §

                                               ORDER

       Defendant filed an answer on October 5, 2018. (Dkt. 6). Contrary to this Court’s local rules,

the parties have not yet submitted a proposed scheduling order. See W.D. Tex. Loc. R. CV-16(c)

(requiring that the parties to a case submit a proposed scheduling order to the court no later than 60

days after any appearance of any defendant).

       Accordingly, IT IS ORDERED that the parties consult the website for the United States

District Court for the Western District of Texas (www.txwd.uscourts.gov), the “Judges’ Info” tab,

“Standing Orders,” “Austin Division,” and submit a joint proposed scheduling order using District

Judge Robert Pitman’s form on or before January 24, 2019.

       SIGNED on January 17, 2019.




                                               _____________________________________
                                               ROBERT PITMAN
                                               UNITED STATES DISTRICT JUDGE
